                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KELLEY O’DONNELL,       :
                        :                            4:08-CV-00136
        Plaintiff,      :
     v.                 :                            (Judge McClure)
                        :
PENNSYLVANIA DEPARTMENT :                            (Magistrate Judge Smyser)
OF CORRECTIONS, et al., :
                        :
        Defendants.     :

                                MEMORANDUM

                                  February 2, 2010

BACKGROUND:

      On January 22, 2008, pro se plaintiff Kelley O’Donnell, an inmate at the

State Correctional Institution at Muncy (“SCI-Muncy”) in Muncy, Pennsylvania,

initiated this action by filing a complaint against nineteen (19) defendants. (Rec.

Doc. No. 1). On February 14, 2008, O’Donnell filed a First Amended Complaint

(Rec. Doc. No. 12) and, on April 21, 2008, she filed a Second Amended Complaint

(Rec. Do. No. 21). O’Donnell filed a Third Amended Complaint on April 30,

2009. (Rec. Doc. No. 79).

      In her Third Amended Complaint, O’Donnell named twenty-three (23)

individuals and entities as defendants. These defendants included Jeffrey Beard,

Secretary of Corrections at the Pennsylvania Department of Corrections (“DOC”);
Shirley Moore, Deputy Secretary of Corrections at the DOC and former

Superintendent at SCI-Muncy; Dawn Chamberlain, Superintendent at SCI-

Pittsburgh and former Superintendent at SCI-Muncy; Marirosa Lamas,

Superintendent at SCI-Muncy; Karen Fultz, former Deputy of Centralized Services

and Facility Managment at SCI-Muncy; Joanne Torma, former Deputy of

Centralized Services and Facility Managment at SCI-Muncy; Jill Shepler, Deputy

of Centralized Services and former Corrections Classification Program Manager at

SCI-Muncy; Wendy Nicholas, Corrections Classification Program Manager at SCI-

Muncy; Joseph Bertone, Unit Manager of E Unit at SCI-Muncy; Donald Fiske,

former Corrections Health Care Administrator at SCI-Muncy; Gloria Diggan,

Corrections Health Care Administrator at SCI-Muncy; Nancy Day, a nurse at SCI-

Muncy; and the DOC. Id. at 2-4. These defendants hereinafter will be referred to

as the Corrections Defendants.

      O’Donnell also named as defendants Prison Health Services, Inc. (“Prison

Health Services”), a medical care provider for inmates at state institutions,

including SCI-Muncy, in Pennsylvania; Jennifer Johnson, an on-site administrator

for Prison Health Services; Paul Noel, the statewide medical director for Prison

Health Services; and Carlos Rodriguez Broatch, Craig Bardell, Judith Prophette,

Tony Reed, Andrew Fabian, Michael Weisner, and Gregory Famiglio, who were all


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medical directors or doctors for either SCI-Muncy or Prison Health Services. Id. at

3-4. These defendants hereinafter will be referred to as the Medical Defendants.

      There are seven counts in O’Donnell’s Third Amended Complaint. Counts 1,

2, and 3 allege, based on 42 U.S.C. § 1983, violations of the Eighth Amendment of

the United States Constitution. In Count 4, O’Donnell raises a claim based upon

medical negligence. In Count 5, O’Donnell raises a claim under the Americans

with Disabilities Act (“ADA”), 42 U.S.C. § 12101, et seq. Finally, in Counts 6 and

7, O’Donnell alleges, based on 42 U.S.C. § 1983, that defendants violated the

Fourteenth Amendment.

PROCEDURAL HISTORY:

      Initially, the instant matter was assigned to United States Magistrate Judge J.

Andrew Smyser. On November 2, 2009, O’Donnell filed a motion to withdraw her

complaint against the Medical Defendants. (Rec. Doc. No. 153). On November 4,

2009, Magistrate Judge Smyser granted her request to withdraw these claims. (Rec.

Doc. No. 154). In light of this withdrawal, defendants Prison Health Services,

Johnson, Noel, Broatch, Prophette, Reed, Fabian, Bardell, Weisner, and Famiglio,

referred to herein as the Medical Defendants, were dismissed from the suit.

      On June 23, 2009, the Corrections Defendants filed a “Motion Pursuant to

Fed. R. Civ. P. 12(b)(6) to Dismiss Less Than All the Claims Set Forth in Plaintiff’s


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Third Amended Complaint,” as well as a brief in support. (Rec. Doc. Nos. 107 and

108). O’Donnell filed a brief opposing the motion to dismiss on October 28, 2009.

(Rec. Doc. No. 152). The Corrections Defendants did not file a reply brief.

      On December 31, 2009, Magistrate Judge Smyser issued a Report and

Recommendation in which he granted in part and denied in part the Corrections

Defendants’ motion to dismiss. (Rec. Doc. No. 161). In his Report and

Recommendation, Magistrate Judge Smyser recommended that O’Donnell’s § 1983

claims for monetary damages as to Beard and Lamas be dismissed; however, the

magistrate judge also recommended that O’Donnell’s § 1983 claims for injunctive

relief against Beard and Lamas in their official capacities not be dismissed. In

addition, the magistrate judge recommended that those claims under the ADA

against Beard, Moore, Chamberlain, Fultz, Torma, Shepler, Diggan, Bertone, and

Nicholas in their individual capacities be dismissed. On the other hand, it was also

the magistrate judge’s recommendation that those claims seeking injunctive relief

under the ADA against Beard, Moore, Chamberlain, Fultz, Torma, Shepler, Diggan,

Bertone, and Nicholas in their official capacities not be dismissed.

      On January 25, 2010, O’Donnell filed a motion for an extension of time in

which to file her objections to Magistrate Judge Smyser’s Report and

Recomendation. (Rec. Doc. No. 163). We granted O’Donnell’s motion, requiring


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that she file her objections to the Report and Recommendation no later than

February 1, 2010. (Rec. Doc. No. 164). On January 26, 2010, O’Donnell filed her

objections. (Rec. Doc. No. 165).

      In light of the above, the instant matter is now ripe for disposition. Because

we agree with Magistrate Judge Smyser’s thorough analysis and recommendation,

and because we conclude that O’Donnell’s objections to the Report and

Recommendation are unavailing, we will adopt the Report and Recommendation in

full. Therefore, we will grant the Corrections Defendants’ motion to dismiss in part

and deny it in part.

DISCUSSION:

      A district court reviews de novo those portions of a magistrate judge’s Report

and Recommendation to which a party objects. See Middle District Local Rule

72.3. The court may “accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge.” Id.

            A. O’Donnell’s § 1983 Claims Against Beard and Lamas

      In his Report and Recommendation, Magistrate Judge Smyser recommended

that this Court dismiss O’Donnell’s § 1983 claims for monetary damages as to

Beard and Lamas, while allowing to continue those § 1983 claims for injunctive

relief against the two defendants in their official capacities. (Rec. Doc. No. 161 at


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14).

       O’Donnell’s objections focus on the Corrections Defendants generally, as

well as Beard and Day specifically. First, O’Donnell claims that the Corrections

Defendants “have all had involvement in the plaintiffs [sic] day to day life and

made decisions regarding her health, living quarters, ADA accomodations [sic] in

which plaintiff requested assistance.” (Rec. Doc. No. 165 at 1). Second, O’Donnell

alleges that “Beard has worked his way up the chain to the Secretary of the

Pennsylvania Department of Corrections and is in power to make things happen.”

Id. at 2. O’Donnell also alleges that “Beard signs all these policies and procedures

as well as training manuals.” Id. Third, O’Donnell makes a number of allegations

as to defendant Day, a nurse at SCI-Muncy.

       We conclude that O’Donnell’s objections to the Report and Recommendation

are unavailing. First, O’Donnell’s general objection concerning all Corrections

Defendants fails to alter our decision that the magistrate judge was correct in

concluding that O’Donnell has failed to state a claim for damages against either

Beard or Lamas upon which relief can be granted. Second, O’Donnell’s more

specific objection concerning Beard is similarly unavailing. In fact, in her

objection, O’Donnell appears to concede that Beard was not personally involved in

any alleged constitutional violations, noting that “[t]hough he was not involved


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individually but he is officially.” Id. Even so, Magistrate Judge Smyser has

recommended that O’Donnell’s § 1983 claims seeking injunctive relief against

Beard and Lamas in their official capacities not be dismissed. Third, O’Donnell’s

apparent objections concerning defendant Day are moot; the Corrections

Defendants’ motion to dismiss currently at issue does not seek the dismissal of any

claims against Day.

      In light of the above, we will adopt the magistrate judge’s recommendation

that this Court dismiss O’Donnell’s § 1983 claims for monetary damages as to

Beard and Lamas and allow to go forward O’Donnell’s § 1983 claims for injunctive

relief against those two defendants in their official capacities.

   B. O’Donnell’s ADA Claims Against Beard, Moore, Chamberlain, Fultz,
              Torma, Shepler, Diggan, Bertone, and Nicholas

      Magistrate Judge Smyser also recommended that this Court dismiss

O’Donnell’s claims under the ADA to the extent that she seeks relief against Beard,

Moore, Chamberlain, Fultz, Torma, Shepler, Diggan, Bertone, and Nicholas in their

individual capacities. However, pursuant to the dictates of Koslow v. Pennsylvania,

302 F.3d 161, 179 (3d Cir. 2002) (concluding that “federal ADA claims for

prospective injunctive relief against state officials are authorized by the Ex parte

Young doctrine”), the magistrate judge recommended that O’Donnell’s claims for



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injunctive relief against the above officials in their official capacities be allowed to

continue. (Rec. Doc. No. 161 at 14).

      O’Donnell claims that the above defendants should “be held in their official

capacities and it should be held for punitive damages that plaintiff was denied

accomodation [sic] for 12 years and then only got worse as plaintiff requested ada

accomodations [sic].” (Rec. Doc. No. 165 at 2). O’Donnell goes on to claim that

her condition has continued to worsen and that the defendants have remained

indifferent to this progression. Id. at 3. From this discussion, we fail to glean any

substantive objection that O’Donnell has to the magistrate judge’s recommendation

concerning her ADA claims. The plain language of the ADA evinces an intent by

Congress that the statute only apply to public entities, see 42 U.S.C. § 12132, and it

is clear that the Ex parte Young doctrine allows for ADA claims to proceed against

state officials in their official capacities when such claims are for prospective

injunctive relief, see Koslow, 302 F.3d at 179. As such, we agree with the

magistrate judge that O’Donnell’s ADA claims against Beard, Moore, Chamberlain,

Fultz, Torma, Shepler, Diggan, Bertone, and Nicholas in their individual capacities

should be dismissed, but that her ADA claims seeking prospective injunctive relief

against these defendants in their official capacities should be permitted to continue.

CONCLUSION:


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     In light of the above, we will adopt in full Magistrate Judge Smyser’s Report

and Recommendation. (Rec. Doc. No. 161).



                                       s/ James F. McClure, Jr.
                                     James F. McClure, Jr.
                                     United States District Judge




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PENNSYLVANIA DEPARTMENT :                       (Magistrate Judge Smyser)
OF CORRECTIONS, et al., :
                        :
        Defendants.     :

                                 ORDER

                             February 2, 2010

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

    1.   United States Magistrate Judge Smyser’s Report and Recommendation

         is ADOPTED IN FULL. (Rec. Doc. No. 161).

    2.   The Defendants’ Motion to Dismiss is GRANTED to the extent that

         Plaintiff’s 42 U.S.C. § 1983 claims for monetary damages as to Beard

         and Lamas are DISMISSED.

    3.   The Defendants’ Motion to Dismiss is GRANTED to the extent that

         Plaintiff’s claims under the Americans with Disabilities Act, 42 U.S.C.

         § 12101, et seq., against Beard, Moore, Chamberlain, Fultz, Torma,

         Shepler, Diggan, Bertone, and Nicholas in their individual capacities

         are DISMISSED.

    4.   The instant matter is remanded to Magistrate Judge Smyser for further



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proceedings.


                 s/ James F. McClure, Jr.
               James F. McClure, Jr.
               United States District Judge




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